    Case: 1:21-cv-01530 Document #: 32 Filed: 08/26/21 Page 1 of 3 PageID #:342




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ABBVIE INC. and ABBVIE                          )
 BIOTECHNOLOGY LTD.,                             )
                                                 )
                                Plaintiffs,      )      Case No. 1:21-cv-1530
                                                 )
        v.                                       )      Hon. Judge Harry D. Leinenweber
                                                 )
 ALVOTECH HF.,                                   )      Magistrate Judge Jeffrey Cummings
                                                 )
                                Defendant.       )


        DEFENDANT ALVOTECH HF.’S RESPONSE TO PLAINTIFFS’ ABBVIE INC.
            AND ABBVIE BIOTECHNOLOGY LTD.’S NOTICE OF DECISION

       Defendant Alvotech hf. submits this response to address Plaintiffs’ characterization of the

order in an unrelated patent infringement suit. (Dkt. 29.)

       In that order, Judge Lee held that Alvotech hf. is not subject to general jurisdiction in the

Northern District of Illinois. (Dkt. 29-1 at 26.) And with respect to specific jurisdiction, Judge

Lee correctly stated that: “Specific jurisdiction … must be based on activities that arise out of or

relate to the cause of action.” (Id. at 28 (quoting Autogenomics, Inc. v. Oxford Gene Tech. Ltd.,

566 F.3d 1012, 1017 (Fed. Cir. 2009) (emphasis added)).)

       Judge Lee’s order considered only AbbVie’s claims of patent infringement and found that

submission of an aBLA—the “artificial act of infringement” in the unique body of law governed

by the BCPIA—is “suit-related” for the patent case, and, therefore, the Court could exercise

personal jurisdiction in that case. Id.

       In contrast, in this trade secrets case, AbbVie’s claims are based on allegations that a

former AbbVie employee stole trade secrets from AbbVie in Singapore and used them in his work

at Alvotech’s hf.’s facility in Iceland. (Compl., ¶¶ 54-62.) Judge Lee did not consider these



                                                 1
    Case: 1:21-cv-01530 Document #: 32 Filed: 08/26/21 Page 2 of 3 PageID #:343




allegations and made no determination regarding whether such allegations are sufficient to

exercise personal jurisdiction. And, as discussed in Alvotech hf.’s motion to dismiss (Dkt. 22 at

8), unlike in the patent context, the possibility of future sales of Alvotech hf.’s AVT02 product in

Illinois is insufficient to establish personal jurisdiction in this trade secrets case. See J.S.T. Corp.

v. Foxconn Interconnect Tech. Ltd., 965 F.3d 571, 578 (7th Cir. 2020).



  Date: August 26, 2021                             Respectfully submitted,


                                                    By: /s/ Louis E. Fogel
                                                         Debbie L. Berman (# 6205154)
                                                         Louis E. Fogel (# 6281404)
                                                         JENNER & BLOCK LLP
                                                         353 N. Clark St.
                                                         Chicago, IL 60654
                                                         Tel: 312-222-9350 / Fax: 312-840-7764
                                                         Email: dberman@jenner.com;
                                                         lfogel@jenner.com

                                                         Roger A. Denning
                                                         Geoffrey D. Biegler
                                                         FISH & RICHARDSON P.C.
                                                         12860 El Camino Real, Ste. 400
                                                         San Diego, CA 92130
                                                         Tel: 858-678-5070 / Fax: 858-678-5099
                                                         Email: denning@fr.com; biegler@fr.com

                                                         John Farrell
                                                         FISH & RICHARDSON P.C.
                                                         500 Arguella Street, Ste. 500
                                                         Redwood City, CA 94063
                                                         Tel: 650-839-5070 / Fax: 650-839-5071
                                                         Email: farrell@fr.com

                                                    Counsel for ALVOTECH HF.




                                                   2
    Case: 1:21-cv-01530 Document #: 32 Filed: 08/26/21 Page 3 of 3 PageID #:344




                               CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2021 I caused a true and correct copy of the foregoing

to be electronically served on counsel of record via the Court’s CM/ECF system.


                                                           /s/ Louis E. Fogel
                                                           Louis E. Fogel




                                               1
